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                   IN THE UN"ITED STATES DISTRICT COURT FOR TIIE
                          NORTHERN DISTRICT OF ILLINOIS

I-INITED STATES OF AMERICA
              Plaintiff                                  CaseNo:     19   CR277

              v.
                                                        Magistrate Judge Jeftey Cole
CONCEPTION MALINEK
              Defendant



                                          ORDER


Initial appearance proceedings held. Enter Order appointing Raymond Pijon as counsel for
defendant. Defendant appears in response to arrest on March 26,2019. Govemment seeks
detention. Detention hearing is set for March 28,2019 at 9:00 am. Defendant is remanded to
the custody of the U.S. Marshal. Defendant to advise the court on if he wishes to have a
preliminary examination hearing.




Date: March26,20l8




(T:0:15)




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